           Case 5:04-cr-50016-TLB Document 216                                                     Filed 12/06/10 Page 1 of 3 PageID #: 206
 4Ilt.AO 245D    (Rev. 12/03) Judgment in a Criminal Case for Revocations
                 Sheet 1



                                                      UNITED STATES DISTRICT COURT
                         WESTERN                                                             District of                            ARKANSAS
          UNITED STATES OF AMERICA                                                                  JUDGMENT IN A CRIMINAL CASE
                                    v.                                                              (For Revocation of Probation or Supervised Release)


        ARMANDO SANTILLAN-SALINAS                                                                   Case Number:                    5:04CR50016-003
                                                                                                    USMNumber:                      07330-010
                                                                                                    Tim Penhallegon
                                                                                                    Defendant's Attorney
THE DEFENDANT:
X plead guilty to violation ofcondition(s) New Law Violation and Standard Report Condition of the term of supervision.
o was found in violation of condition(s)
                                                                              ------------ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                         Nature of Violation                                                            Violation Ended
New Law Violation                                        Illegal Re-entry into United States after Deportation                          OS/26/2010

Standard Report Condition                               Failure to Report to U.S. Probation Office within 72 Hours of                   OS/26/2010
                                                        Re-entering the United States after Deportation



        The defendant is sentenced as provided in pages 2 through         3     of this judgment. The sentence is imposed by
referring to the U.S. Sentencing Guidelines as only advisory within the statutory range for offense(s).
o The defendant has not violated condition(s) --------- and is discharged as to such violation(s) condition.
           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pai.d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economic Clfcumstances.

Defendant's Soc. Sec. No.:     ..;:,X~XX=:..;-X=X...
                                                  -0:;:..:8::.:8;:..::0:.._          _             December 6, 2010
                                                                                                   Date of Imposition of Judgment
Defendant's Date of Birth:     ..;:,X~X/XX/~~~1~9..:::6.:::.3                            _
                                                                                                   /S/ Jimm Larry Hendren
                                                                                                   Signature of Judge
Defendant's Residence Address:

xxxxxxxxxxxxx
Rogers, AR 72756                                                                                   Honorable Jimm Larry Hendren, Chief United States District Judge
                                                                                                   Name and Title of Judge


                                                                                                   December 6, 2010
                                                                                                   Date
Defendant's Mailing Address:

Same as above
          Case 5:04-cr-50016-TLB Document 216                             Filed 12/06/10 Page 2 of 3 PageID #: 207
    AO 2450   (Rev. 12103 Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                     Judgment - Page _-=.2_ of   3
    DEFENDANT:                ARMANDO SANTILLAN-SALINAS
    CASE NUMBER:              5:04CR500 16-003


                                                              IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:              four (4) months, term to run consecutively to sentence in Case No. 5:10CR50089-001. No supervised
                      release will be re-imposed.




      o The court makes the following recommendations to the Bureau of Prisons:



     X The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

          o    at
                    - - - - - - - - o a.m.                       0 p.m.        on
              as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before 2 p.m. on
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                                    RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                         to

a                                                    with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL



                                                                          By                   =~~=:=:::_:_:::~~~:_;_---
                                                                                               DEPUTY UNITED STATES MARSHAL
AD 245D    Case     5:04-cr-50016-TLB
           (Rev. 12/03)                              Document
                        Judgment in a Criminal Case for Revocations 216     Filed 12/06/10 Page 3 of 3 PageID #: 208
            Sheet 5 -   Criminal Monetary Penalties
                                                                                                       Judgment -   Page _"",3_ _   of _ _~3      _
DEFENDANT:                          ARMANDO SANTILLAN-SALINAS
CASE NUMBER:                        5:04CR50016-003
                                                CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                     Assessment                                           Fine                               Restitution
TOTALS             $ - 0-                                         $       - 0-                             $ - 0­


o The determination of restitution is deferred until - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximatelx proportioned paYIt!ent, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paId.

Name of Payee                                  Total Loss·                       Restitution Ordered                     Priority or Percentaee




TOTALS                                $--------                              $--------­
o    Restitution amount ordered pursuant to plea agreement $                                 _

o    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     o the interest requirement is waived for the o fine o restitution.
     o the interest requirement for the 0 fine o restitution is modified as follows:

* Findings for the total amount oflosses are reguired under Chapters 109A, 110, I1OA, and I13A of Title 18 for offenses committed on or after
Septemoer 13, 1994, but before April 23, 1996.
